        Case 1:23-cr-00430-KPF          Document 80        Filed 09/19/24      Page 1 of 1




September 19, 2024                                                                      Brian E. Klein
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By ECF

Honorable Katherine Polk Failla
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

Re:     United States v. Roman Storm
        23 Cr. 430 (KPF)

Dear Judge Failla:

         We write on behalf of our client, Roman Storm, regarding the government’s 10-page
letter motion seeking to compel certain pretrial disclosures, which was filed on September 18,
2024. (Dkt. 79.) The defense is reviewing the government’s letter and needs time to prepare and
file a response. The defense respectfully requests that the Court permit it to file its response on
September 25, 2014.

Respectfully submitted,


Brian E. Klein
Keri Curtis Axel
Kevin M. Casey
Waymaker LLP

-and-

David E. Patton
Hecker Fink LLP

Attorneys for Roman Storm
